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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                          EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,            )       No. CR-F-94-5011 OWW
                                          )
10                                        )       ORDER DIRECTING UNITED
                                          )       STATES TO RESPOND TO
11                      Plaintiff/        )       PETITIONER'S MOTION FOR
                        Respondent,       )       MODIFICATION OF SENTENCE
12                                        )       PURSUANT TO 18 U.S.C. §
                  vs.                     )       3582(c)(2)
13                                        )
                                          )
14   ROBERT GONZALES,                     )
                                          )
15                                        )
                        Defendant/        )
16                      Petitioner.       )
                                          )
17                                        )

18          On August 18, 2008, Petitioner Robert Gonzales filed a

19   motion for modification of sentence pursuant to 18 U.S.C. §

20   3582(c)(2), (Doc. 614), based on retroactive application of

21   Amendment 591 to the Sentencing Guidelines.

22          The United States is ordered to file a response to

23   Petitioner's motion within 30 days of the filing date of this

24   Order.    Petitioner's reply, if any, shall be filed within 30 days

25   thereafter.     All further proceedings will be by Court Order.

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1    IT IS SO ORDERED.

2    Dated:   August 20, 2008               /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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